Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 1 of 22 PagelD #:25

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISON AT CHICAGO

)

 

Nina Abdurakhmanova, Voluntary Administratix ) Case No.: 1:21-cv-4809 (JIT) (TG)
of the Estate of Ramiz Guliev, on behalf Ramiz  )
Guliev and all others similarly situated, )
)
Plaintiffs, )
) FIRST AMENDED
-against- ) CLASS AND COLLECTIVE
) ACTION COMPLAINT
GOLD STAR CARRIERS INC., ) AMENDED PURSUANT
GSC TRANSHOLDING LLC, GSC CARRIERS,  ) TO RULE 15(a)(1)(A)
TTS TRANSPORT INC., VICTOR EXPRESS _ )
TRUCKING, INC., VICTOR BARANOVICI, _ )
ALEXANDRA CHISELIOV, and DANIELA _)
COSCODAN, )
)
Defendants. ) JURY TRIAL DEMANDED

Plaintiff Nina Abdurakhmanova, Voluntary Administratix (hereinafter “Administratix” of
the Estate of Ramiz Guliev, on behalf of Ramiz Guliev (hereinafter “Plaintiff” or “Guliev”) and
all others similarly situated, by her attorneys Ankin Law Office LLC, alleges, upon personal
knowledge as to herself and upon information and belief as to other matters, as follows:

PRELIMINARY STATEMENT
1. The Defendants! are collectively a nationwide company that provides shipping,

transport, and logistics services.

 

' Gold Star Carriers Inc. (“GSC Inc.”), GSC Transholding LLC (“GSC LLC”), GSC Carriers
(“GSC”), TTS Transport Inc. (“TTS Inc.”), and Victor Express Trucking, Inc. (“VET Inc.”)
(GSC Inc., GSC LLC, GSC, TTS Inc., and VET Inc. collectively hereinafter the “Corporate
Defendants”), and Victor Baranovici (“Baranovici”), Alexandra Chiseliov (“Chiseliov’), and
Daniela Coscodan (“Coscodan”) (Baranovici, Chiseliov, and Coscodan collectively hereinafter
the “Individual Defendants”) (the Corporate Defendants and the Individual Defendants
collectively hereinafter the “Defendants’’).
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 2 of 22 PagelD #:26

2. The Defendants operate their nationwide business from its headquarters in Rolling
Meadows, Illinois within the Northern District of Illinois.

3. The Defendants depend on drivers employed at each of its offices to deliver goods
in interstate commerce all over the United States of America.

4, Although these drivers, including Plaintiff, who work or worked for the
Defendant, are subject to their control, Defendants have misclassified them as “independent
contractors” outside the protections of the federal Fair Labor Standards Act (“FLSA”) as well as
state wage and hour laws under the Illinois Minimum Wage Act (“IMWA”) and the Illinois
Wage Payment and Collection Act “IWPCA”).

5, The Administratix brings this action on behalf of Guliev and similarly situated
current and former drivers who elect to opt-in to this action pursuant to the FLSA, 29 U.S.C. §§
201, et seq., and specifically, its collective action provision, 29 U.S.C. § 216(b), for unpaid
minimum wages and overtime.

6. The Administratix also brings this action on behalf of Guliev and all similarly
situated current and former drivers who worked for the Corporate Defendants in the United
States of America, pursuant to Federal Rule of Civil Procedure 23, to remedy violations for
unpaid minimum wages and overtime, and under the IMWA, 820 III. Comp. Stat. 105/1, et seq.,
and IWPCA, 820 III. Comp. Stat. 115/1, et seg.

7. As set forth herein, Defendants’ conduct in misclassifying Guliev and all other
similarly situated drivers has deprived them of their fair wages and benefits conferred by the
nature of the employment relationship Plaintiff and all other similarly situated drivers had.

8. As such, Guliev and the putative class of similarly situated drivers are entitled to

unpaid minimum and overtime wages, liquidated damages, interest, attorneys’ fees, and costs.
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 3 of 22 PagelD #:27

JURISDICTION

9. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that
this is a civil action arising under the FLSA. This court has supplemental jurisdiction over
plaintiff's related state law claims arising under state and local laws pursuant to 28 U.S.C. §
1367(a).

10. Plaintiff's state law claims are so closely related to Guliev’s claims under the
FLSA that they form part of the same case or controversy under Article III of the United States
Constitution, and otherwise are under a common nucleus of operative facts.

ll. This Court also has jurisdiction over Plaintiff's FLSA claims pursuant to 29
US.C. § 216(b).

12. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.
§§ 2201 and 2202.

VENUE

13. | Venue is proper in this District under 28 U.S.C. § 1391(b), because a substantial
part of the events or omissions giving rise to the claims occurred in this District, and the
Defendants reside in, and/or do business within, this Northern District of Illinois.

PARTIES

Plaintiff

14, The Administratix is an individual who resides in the State of New York, County
of Queens. She is a citizen of New York, and is the widow of Guliev.

15. | Upon information and belief, Guliev worked for the Defendants as a driver, from
approximately November 2016 through November 12, 2019, the date of Guliev’s untimely death

in a tragic trucking accident.
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 4 of 22 PagelD #:28

16. | Nina Abdurakhmanova is entitled to bring this action as Guliev’s widow, and, by
a Decree from the Queens County Surrogate’s Court in the State of New York dated April 12,
2021, has been awarded limited letters of administration of the estate of Guliev to pursue the
causes of action herein against the Defendants.

17. Acopy of the April 12, 2021 Decree is annexed hereto as Exhibit “A.”

18. Guliev typically worked between approximately fifty (50) and seventy (70) hours
per week for the Defendants’ benefit.

19. Guliev was not paid the minimum wage for all hours worked, and was not paid
overtime for all of the hours he worked over forty (40) in a workweek.

20. For example, during the week of August 18, 2019 through August 24, 2019,
where Guliev traveled from New York to Kentucky, then to Tennessee, then to Texas, and then
to Utah, he was paid only $1,074.97 after illegal deductions made for truck rental, IFTA,
insurance, mileage, safety, support, and fuel, despite working approximately seventy (70) hours.
However, his total pay without deductions was based on a percentage of freight amount, totaling
$4,455.00.

21. As aresult, where an employee is not paid on an hourly basis, the law requires
that the total remuneration be divided into the total number of hours worked to derive a regular
rate.

22. Here, for the above-referenced week, Guliev was supposed to be paid $4,455.00
for approximately seventy (70) hours of work, such that his regular rate is $63.64 per hour and
overtime rate is $95.46 per hour, and the overtime differential is therefore $31.82.

23.  Guliev was therefore entitled to $954.60 in overtime wages for the above-

referenced week ($31.82 per hour times 30 hours of overtime).
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 5 of 22 PagelD #:29

24. The Administratix estimates that Guliev worked more than forty (40) hours every
single week he worked.

25.  Guliev was not paid overtime for his hours above forty (40) during the weeks
described above.

26. | Guliev worked these hours pursuant to the Defendants’ policy or practice of
encouraging him and other drivers to work full-time schedules, including overtime.

27. Guliev worked these hours pursuant to Defendants’ policy or practice of requiring
illegal deductions from his agreed-upon pay.

28. Upon information and belief, the deductions applied to Guliev’s pay resulted in

Guliev earning less than the minimum wage.

29. Guliev is a covered employee within the meaning of the FLSA as well as the
IMWA and IWPCA.

30. The Administratix has filed a written consent to join this action in place and stead
of Guliev.

31. | A copy of the written consent is annexed hereto as Exhibit “B.”
Defendants

32. | Upon information and belief, each individually named Defendant is an individual

who resides in Rolling Meadows, IL. Upon information and belief, each individual Defendant is
a citizen of Illinois with its principal place of business in Rolling Meadows, IL. Each individual
Defendant is an employer as defined by the FLSA as well as the IMWA and IWPCA.

33. | Upon information and belief, Defendant Victor Baranovici is the owner and/or

principal of the Corporate Defendants.
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 6 of 22 PagelD #:30

34, Upon information and belief, Defendants Alexandra Chiseliov and Daniela
Coscodan have managerial authority over the Corporate Defendants.

35. Each of the individual Defendants had the authority to hire and fire Ramiz Guliev
and other drivers, set the terms and conditions of employment (including the schedule and
payment terms) of Ramiz Guliev and other drivers, and maintained employment records for
Ramiz Guliev and other drivers.

36. Upon information and belief, the Corporate Defendants are Illinois corporations
or limited liability companies with corporate headquarters located in Rolling Meadows, Illinois,
where the Corporate Defendants maintain their offices and do business in.

37. Defendants are each a covered employer as defined by the FLSA, IMWA, and
IWPCA, as joint employers or a single employer.

38. Defendants employed Plaintiff and similarly situated employees within the
meaning of the FLSA, IMWA, and IWPCA.

39. Defendants at all relevant times had substantial control over the working
conditions of Plaintiff and similarly situated workers, and over the unlawful policies and
practices alleged herein at all times relevant to this lawsuit.

40. Defendants controlled Plaintiff's and similarly situated employees’ terms and
conditions of employment by determining their compensation, setting their schedules, requiring
Plaintiff and similarly situated employees to follow their policies and rules, hiring and/or firing
Plaintiff and similarly situated employees, and maintaining employment records for Plaintiff and
similarly situated employees.

41. On information and belief, Defendants’ annual gross volume of sales made or

business done is not less than $500,000.00.
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 7 of 22 PagelD #:31

COLLECTIVE ACTION ALLEGATIONS

42. Plaintiff brings the first and second Causes of Action, FLSA minimum wage and
overtime claims, on behalf of Ramiz Guliev and all similarly situated persons who work or have
worked as drivers for Defendants between November 12, 2016,” and the date of final judgment,
who did not receive the minimum wage for all hours worked and/or overtime for all hours
worked over forty (40) in a workweek, and who elect to join this action pursuant to 29 U.S.C. §
216(b) (the “FLSA Collective”).

43. All of the work that Plaintiff and the FLSA Collective have performed has been
assigned by Defendants, and/or Defendants have been aware of all of the work that Plaintiff and
the FLSA Collective have performed.

44. As part of its regular business practice, Defendants intentionally, willfully, and
repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to
Plaintiff and the FLSA Collective. This policy and pattern or practice includes, but is not limited
to:

(a) Willfully misclassifying Plaintiff and the FLSA Collective as

“independent contractors;”

(b) Willfully failing to pay Plaintiff and the FLSA Collective the minimum
wage for all hours worked;
(c) Willfully failing to pay Plaintiff and the FLSA Collective overtime for

hours that they worked in excess of forty (40) hours per workweek;

 

* The Administratix will seek to equitably toll the statute of limitations from the date of Guliev’s
death until the time the Administratix received limited letters of administration to pursue the
claims herein.
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 8 of 22 PagelD #:32

(d) Willfully and unlawfully deducting various expenses from the wages of

Plaintiff and the FLSA Collective; and

(e) Willfully failing to record all of the time that Plaintiff and the FLSA

Collective have worked for the benefit of Defendants.

45. Defendants are aware or should have been aware that federal and state law
required them to, inter alia, pay Plaintiff and the FLSA Collective the minimum wage for all
hours worked, to pay an overtime premium for hours worked in excess of forty (40) per
workweek, and to not unlawfully deduct from their wages.

46. Defendants’ conduct has been widespread, repeated, and consistent.

47, Defendants are liable under the FLSA for, inter alia, failing to properly
compensate Plaintiff and the members of the FLSA Collective.

48. Upon information and belief, the FLSA Collective consists of many similarly
situated individuals who have been underpaid by Defendants in violation of the FLSA and who
would benefit from the issuance of a court-supervised notice of the lawsuit and the opportunity
to join the lawsuit. Those similarly situated collective members are known to Defendants, are
readily identifiable, and can be located through Defendants’ records. Notice should be sent to the
members of the FLSA Collective pursuant to 29 U.S.C. § 216(b).

ILLINOIS CLASS ACTION ALLEGATIONS

49. The Administratix brings the third and fourth Causes of Action, on behalf of
Guliev and a class of persons who work or have worked as drivers for Defendants nationwide
between November 12, 2016 and the date of final judgment, who did not receive the minimum
wage for all hours worked and/or overtime for all hours worked over forty (40) in a workweek

(“Illinois Class”).
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 9 of 22 PagelD #:33

50. The persons in the Illinois Class are so numerous that joinder of all members is
impracticable.
51. Although the precise number of such persons is unknown, the facts on which the

calculation of that number depends are presently within the sole control of Ilinois.

52. Upon information and belief, the Illinois Class consists of more than one hundred
(100) members.

53. Plaintiff will fairly and adequately protect the interests of the Illinois Class.

54. Defendants have acted or refused to act on grounds generally applicable to the
Illinois Class, thereby making appropriate final injunctive relief or corresponding declaratory
relief with respect to the class as a whole.

55. | Common questions of law and fact exist as to the Illinois Class and predominate
over any questions affecting only individual members, and include, but are not limited to, the
following:

(a) Whether Defendants misclassified Plaintiff and the Illinois Class as
independent contractor drivers;

(b) Whether Defendants failed to pay Plaintiff and the Illinois Class the
minimum wage for all hours they worked for its benefit;

(c) Whether Defendants failed to pay Plaintiff and the Illinois Class overtime
for hours worked over forty (40) in a workweek;

(d) Whether Defendants made unlawful deductions from the pay of Plaintiff
and the Illinois class;

(e) Whether Defendants failed to keep true and accurate time records for all

hours worked by Plaintiff and the Illinois Class; and
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 10 of 22 PagelD #:34

(f) The nature and extent of class-wide injury and the measure of damages for
those injuries.

56. Plaintiff's claims are typical of the claims of the Illinois Class she seeks to
represent. Plaintiff and the Illinois Class work or have worked for Defendants as drivers and
have not been compensated for all the hours they worked.

57. Plaintiff and the Illinois Class have all sustained similar types of damages as a
result of Defendants’ failure to comply with the IMWA and IWPCA.

58. Plaintiff will fairly and adequately represent and protect the interests of the
Illinois Class.

59. A class action is superior to other available methods for the fair and efficient
adjudication of this litigation.

60. Class certification is superior because it will avoid duplicative litigation that
might result in inconsistent judgments against Defendants’ practices.

61. | The members of the Illinois Class have been damaged and are entitled to recovery
as a result of Defendants’ common and uniform policies and procedures.

CLASS AND COLLECTIVE FACTUAL ALLEGATIONS

62. Plaintiff and the members of the Illinois Class and FLSA Collective (collectively,
“Class Members”) have been victims of a common policy and plan perpetrated by Defendants
that have violated their rights under the FLSA, IMWA, and IWPCA by denying them wages they
are owed.

63. Specifically, Plaintiff and the Class Members have all been misclassified as
independent contractors, issued pay without an hourly rate and overtime rate — instead based on a

formula other than an hourly pay rate — such that no overtime premium was paid whatsoever.

10
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 11 of 22 PagelD #:35

64. Further, Defendants have unlawfully deducted various expenses it incurs in its
business from the agreed-upon pay it issued to Plaintiff and the Class Members.

65. Plaintiff and the Class Members are therefore similarly situated, and as set forth
herein, have met all prerequisites for the certification of a class and collective action.

COUNT ONE
Fair Labor Standards Act — Unpaid Minimum Wages
(Brought on behalf of Plaintiff and the FLSA Collective)

66. Plaintiff repeats and realleges paragraphs 1 through 66 hereof, as if fully set forth
herein.

67. Defendants failed to pay Plaintiff and the FLSA Collective the minimum wages to
which they are entitled under the FLSA.

68. Defendants have engaged in a widespread policy, pattern, and practice of
violating the FLSA, as detailed in this Class and Collective Action Complaint.

69. At all times relevant, Plaintiff and the FLSA Collective were engaged in
commerce and/or production or sale of goods for commerce within the meaning of 29 U.S.C. 8§
203(e), (m), and 206(a).

70. At all times relevant, Plaintiff and the FLSA Collective were or have been
employees within the meaning of 29 U.S.C. §§ 203(e), (m), and 206(a).

71. At all times relevant, Defendants have been an employer engaged in commerce
and/or the production of goods for commerce within the meaning of 29 U.S.C. $§ 203(e) and
206(a).

72. Defendants were required to pay Plaintiff and the FLSA Collective the applicable

minimum wage for all work performed from November 12, 2016, to the present.

11
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 12 of 22 PagelD #:36

73. As a result of Defendants’ violations of the FLSA, Plaintiff and the FLSA
Collective have suffered damages by being denied minimum wages in accordance with the
FLSA in amounts to be determined at trial, and are entitled to recovery of such amounts,
liquidated damages, prejudgment interest, attorneys’ fees, costs, and other compensation
pursuant to 29 U.S.C. § 216(b),

74. Defendants’ unlawful conduct, as described in this Complaint, has been
intentional and willful.

75. Defendants were aware or should have been aware that the practices described in
this Complaint were unlawful.

76. Defendants have not made a good faith effort to comply with the FLSA with
respect to the compensation of Plaintiff and the FLSA Collective.

77. Because Defendants’ violations of the FLSA have been willful, a three-year
statute of limitations applies, pursuant to 29 U.S.C. § 255.

COUNT TWO
Fair Labor Standards Act — Unpaid Overtime
(Brought on behalf of Plaintiff and the FLSA Collective)

78. Plaintiff repeats and realleges paragraphs | through 77 hereof, as if fully set forth
herein.

79, The overtime provisions set forth in the FLSA, 29 U.S.C. §§ 201, ef seq., and the
supporting federal regulations, apply to Defendants and protect Plaintiff and the FLSA
Collective.

80. Defendants have failed to pay Plaintiff and the FLSA Collective overtime for

hours that they worked in excess of forty (40) hours in a workweek.

12
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 13 of 22 PagelD #:37

81. As a result of Defendants’ unlawful acts, Plaintiff and the FLSA Collective have
been deprived of overtime compensation and other wages in amounts to be determined at trial,
and are entitled to recovery of such amounts, liquidated damages, attorneys’ fees, costs, and

other compensation pursuant to the FLSA.

COUNT THREE
Violation of the Illinois Minimum Wage Law, 820 Ill. Comp. Stat. 105/1, et seq.
(Brought on behalf of Plaintiff and the Illinois Class)

82. Plaintiff repeats and realleges paragraphs 1 through 81 hereof, as if fully set forth
herein.

83. | The IMWA requires employers to pay their employees minimum wages and time-
and-a-half their regular rate of pay of hours worked in excess of forty (40) hours per week. See
Ill. Comp. Stat. 105/4 and 4a.

84. Defendants employed the Plaintiff and the Illinois Class as independent
contractors without an hourly rate despite the facts Defendants were required to pay them on an
hourly basis.

85. Upon information and belief, in virtually every workweek, the Plaintiff and the
Illinois Class worked over forty (40) hours per week.

86. Defendants implemented a company-wide policy of misclassifying all drivers as
independent contractors and making deductions for their business expenses from the drivers’
agreed-upon pay without paying an overtime premium for all hours worked in excess of forty
(40) hours per week as required by law.

87. Defendants failed to compensate Plaintiff and the Illinois Class for all hours

worked.

13
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 14 of 22 PagelD #:38

88. In addition, Defendants failed to include compensation for weekend shifts and
nightshift differentials in their employees’ regular rate of pay before statutory overtime
compensation is computed.

89. As aresult of the Defendants’ common illegal policies and practices stated herein,
Defendants failed to pay the Plaintiff and the Illinois Class the required overtime compensation
at a rate of not less than one-and-one-half (1.5) times the regular rate of pay for hours worked in
excess of forty (40) hours per week.

90. 820 Ill. Comp. Stat. 105/12(a) provides that an employee who is not paid in
accordance with the IMWA “may recover in a civil action treble the amount of any such
underpayments together with costs and such reasonable attorneys’ fees as may be allowed by the
Court, and damages of five percent (5%) of the amount of any such underpayments for each
month following the date of payment during which such underpayments remain unpaid.”

91. | Defendants owe Plaintiff and the Illinois Class wages for hours worked that were
not compensated.

92. Defendants’ uniform policies and practices, as described herein, have been
willful, intentional, unreasonable, arbitrary, and in bad faith.

93. As a result of Defendants’ uniform policies and practices described above, the
Plaintiff and the Illinois Class are illegal deprived of wages earned, in such amounts to be
determined at trial, and are entitled to recovery of treble damages of such total unpaid amounts,
statutory monthly damages penalties, reasonable attorneys’ fees, costs, and other compensation

and damages recoverable under the IMWA.

14
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 15 of 22 PagelD #:39

COUNT FOUR
Violation of the Illinois Wage Payment and Collection Act, 820 Il]. Comp. Stat. 115/1, et seq.
(Brought on behalf of Plaintiff and the INinois Class)

94. Plaintiff repeats and realleges paragraphs 1 through 93 hereof, as if fully set forth
herein.

95. Defendants employed the Plaintiff and the Illinois Class as independent
contractors without an hourly rate despite the facts Defendants were required to pay them on an
hourly basis.

96. An implied-in-fact agreement existed between Defendants, on the one hand, and
the Plaintiff and the Illinois Class, on the other hand, that Plaintiff and the Illinois Class were to
be compensated for all hours worked during their employment with Defendants, as evidenced by
Defendants issuing pay stubs on a weekly basis for all trips made in a single week.

97. Defendants implemented a company-wide policy of misclassifying all drivers as
independent contractors and making deductions for their business expenses from the drivers’
agreed-upon pay without paying an overtime premium for all hours worked in excess of forty
(40) hours per week as required by law.

98. Defendants failed to compensate Plaintiff and the Illinois Class for all hours
worked, and Defendants therefore owe the Plaintiff and the Illinois Class wages for hours
worked that were not compensated.

99. As aresult of the Defendants’ common illegal policies and practices stated herein,
Defendants failed to pay the Plaintiff and the Illinois Class the required overtime compensation
at a rate of not less than one-and-one-half (1.5) times the regular rate of pay for hours worked in

excess of forty (40) hours per week.

15
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 16 of 22 PagelD #:40

100. 820 Ill. Comp. Stat. 105/14 provides that “[a]ny employee not timely paid wages,

final compensation, or wage supplements by his or her employer ... shall be entitled to recover

. in a civil action ... the amount of any such underpayments and damages of [two percent

(2%)] of the amount of any such underpayments for each month following the date of payment

during which such underpayments remain unpaid. In a civil action, such employee shall also
recover all costs and all reasonable attorneys’ fees.”

101. As a result of Defendants’ uniform policies and practices described above, the
Plaintiff and the Illinois Class are illegal deprived of wages earned, in such amounts to be
determined at trial, and are entitled to recovery of treble damages of such total unpaid amounts,
statutory monthly damages penalties, reasonable attorneys’ fees, costs, and other compensation

and damages recoverable under the IWPCA.

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16
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 17 of 22 PagelD #:41

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, respectfully requests judgment as follows:

(a) That, at the earliest possible time, Plaintiff be allowed to give notice of
this collective action, or that the Court issue such notice, to the members of the FLSA
Collective (as defined above). Such notice shall inform them that this civil action has
been filed, of the nature of the action, and of their right to join this lawsuit if they believe
they were denied minimum wages for all hours worked, and overtime for all hours
worked over forty (40) in a workweek;

(b) Unpaid minimum wages and overtime and an additional and equal amount
as liquidated damages pursuant to 29 U.S.C. §§ 201, et seg., and the supporting United
States Department of Labor regulations;

(c) Certification of this case as a class action pursuant to Rule 23 of the
Federal Rules of Civil Procedure;

(d) Designation of Plaintiff as a Class Representative and counsel of record as
Class Counsel;

(e) Issuance of a declaratory judgment that the practices complained of in this
Complaint are unlawful under the FLSA, IMWA, and IWPCA;

(f) An injunction requiring Defendants to pay all statutory required wages
pursuant to the FLSA, IMWA, and IWPCA;

(g) Unpaid minimum wages, and overtime, and liquidated damages under the
FLSA, IMWA, and IWPCA;

(h) Pre- and post-judgment interest;

17
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 18 of 22 PagelD #:42

(i) Attorneys’ fees and costs of this action;
(j) A reasonable incentive award for the lead Plaintiff to compensate her for

the time she spent attempting to recover wages for Class Members and for the risks she

took in doing so; and

(k) Such other relief as this honorable Court shall deem just, equitable, and
proper.
JURY DEMAND
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial
by jury on all claims properly triable by a jury.

Dated: Chicago, Illinois
September 20, 2021
Respectfully submitted,

ANKIN LAW OFFICE LLC

/s/ Matthew _C. Friedman, Esa.
Matthew C. Friedman, Esq.
10 North Dearborn Street
Suite 500

Chicago, IL 60602-4202
mfreidman@ankinlaw.com

Dated: Jamaica, New York
September 20, 2021
EMANUEL KATAEYV, ESQ., P.C.

/s/ Emanuel Kataev, Esq.
Emanuel Kataev, Esq.
(admitted pro hac vice)
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Attorneys for Plaintiff

18
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 19 of 22 PagelD #:43

EXHIBIT A
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 20 of 22 PagelD #:44

At the Surrogate's Court held in
and for the County of Queens, at
Jamaica, State of New York, on

 

 

| APR 12 2021
PRESENT:
HON. PETER J. KELLY, SURROGATE
In the Matter of the Application for Letters of
Administration of the Goods, Chattels and
Credits which were of the ESTATE OF DECREE .
alWa

Deceased.

Nina Abdurakhmanova
On reading and filing the petition of verified the21dayofSept. —_, 20.20

praying for a decree awarding Limited Letters of Administration of the estate of the said deceased to
Nina Abdurakhmanova_ or to such other person or persons who have an equal or prior right thereto, and
proving also to the Surrogate the existence of all the jurisdictional facts.

And It appearing that a right of action exists, granted to the Administrator of the decedent by special
provision of law or one which existed In behalf of the decedent.

And this Court being satisfied that said petitioner, Nina Abdurakhmanovalis entitied to such Limited
Letters of Administration, and is in all respects competent to act as such Administrator, does hereby decree that
Limited Letters of Administration of the goods, chattels and credits of the sald deceased be awarded to sald
petitioner, on the filing of the oath of office and otherwise qualifying as prescribed by statute, and the filing of a
bond Is hereby dispensed with, it Is hereby

Decreed that the said Administrator is hereby restrained from collecting or receiving any fund or other
property of the sald decedent in excess of $ 263.00 Dollars without the further order of the Surrogate,
made upon the filing of satisfactory security, and it is further

‘Decreed that said Administrator is hereby restrained from collecting or receiving sny funds or
property of said intestate or from compromising any action which existed in behalf of the decedent, or the
enforcement of any judgment recovered therein until the further order of the Surrogate made upon filing
satisfactory security, and it is further

Decreed that said Administrator is hereby restrained from compromising any action resulting from
wrongful act, neglect or default causing death of decedent, or the enforcement of any judgment recovered
therein until the further order of the Surrogate Court or the Court in which the action is pending pursuant to
E.P.T.L 5-4.6. ,

 

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Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 21 of 22 PagelD #:45

EXHIBIT B
Case: 1:21-cv-04809 Document #: 6 Filed: 10/01/21 Page 22 of 22 PagelD #:46

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISON AT CHICAGO

Nina Abdurakhmanova, Voluntary Administratix Case No. -cv- (xu)
of the Estate of Ramiz Guliev. on behalf Ramiz

Guliev and all others similarly situated,
Plaintiffs.

CONSENT TO JOIN

~against-

GSC TRANSHOLDING LLC. GSC CARRIERS.
TUS TRANSPORT INC... VICTOR EXPRESS
TRUCKING, INC.. VICTOR BARANOVICI.
ALEXANDRA CHISELIOV, and DANIELA
COSCODAN.

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GOLDS?’ AR CARRIERS INC., )
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Defendants. )

I. Thereby consent and agree to join and opt-in to become a plaintiff in the lawsuit filed against the
above-named Defendants to pursue my deceased husband's claims for unpaid wages for work he
performed for which he was not properly paid and/or for improper deductions taken from his pay at any
time he worked for the Defendants.

2. [understand that this lawsuit seeks unpaid overtime wages, liquidated damages. and attorneys’
fees and costs under the FLSA and under applicable laws of the state in which the decedent worked. I

consent to be bound by the Court’s orders and decisions in this case.

3. | designate the law firms of Ankin Law Office. LLC and Emanuel Kataev. besq.. PC. as my

attorneys to represent me in this lawsuit.

4+. [consent to having the Named Plaintiff Nina Abdurakhmanova, as Voluntary Administratix of
the Pstate of Ramiz Guliev, to pursue this lawsuit in my name, and on my behalf, and | designate the
Named Plo ootiffs to make decisions on my behalf concerning the litigation, including decisions regarding
settlement or trial, negotiating a resolution of my claims and entering into an agreement regarding

attorneys” (ces and costs, and | understand and agree to be bound by such decisions.

5. In the event the case is certified and then decertified or dismissed without prejudice. | authorize
Plaintiffs® counsel Ankin Law Office, LLC and Emanuel Kataev. Esq., P.C. to use this consent form to re-

file my claims ina v7 or related action against Defendants.
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